       Case 1:25-cv-00946-CKK          Document 12       Filed 04/03/25     Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0946 (CKK)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

             Defendants.


 DEMOCRATIC NATIONAL COMMITTEE,
 et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0952 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.


 LEAGUE OF WOMEN VOTERS
 EDUCATION FUND, et al.,

             Plaintiffs,
        v.                                           Civil Action No. 25-0955 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.

                           MEMORANDUM OPINION & ORDER
                                  (April 3, 2025)

       Now pending before the Court is a [18] Motion to Consolidate three recently filed cases.

See Mot. to Consolidate (“Mot.”), ECF No. 18 (Case No. 25-cv-0952). Each of the three cases at

issue arises from President Donald J. Trump’s issuance of an Executive Order entitled “Preserving

                                               1
       Case 1:25-cv-00946-CKK           Document 12        Filed 04/03/25      Page 2 of 5




and Protecting the Integrity of American Elections.” See Exec. Order No. 14,248, 90 Fed. Reg.

14005 (Mar. 25, 2025). The cases, in the order in which they were filed, are League of United

Latin American Citizens et al. v. Executive Office of the President et al., No. 25-cv-0946,

Democratic National Committee et al. v. Trump et al., No. 25-cv-0952, and League of Women

Voters Education Fund et al. v. Trump et al., No. 25-cv-0955. All parties to these cases agree that

consolidation is appropriate, provided that the separately represented Plaintiffs “reserve the right

to file their own pleadings, motions, and briefs in the consolidated cases” and that the Defendants

“reserve the same rights for separate briefing with respect to each of the three consolidated cases.”

See Mot. at 2. For good cause shown, the Court shall GRANT the [18] Motion to Consolidate.

       Federal Rule of Civil Procedure 42(a) provides that a court may consolidate civil actions

that “involve a common question of law or fact.” When determining whether cases should be

consolidated, “a court should consider both equity and judicial economy.” Hanson v. District of

Columbia, 257 F.R.D. 19, 21 (D.D.C. 2009) (RMU). Consolidation may be warranted if “savings

of expense and gains of efficiency can be accomplished without sacrifice of justice.” Id. (quoting

Devlin v. Transp. Commc’ns Int’l Union, 175 F.3d 121, 130 (2d Cir. 1999)). To determine whether

consolidation would be consistent with the interests of justice, courts “weigh considerations of

convenience and economy against considerations of confusion and prejudice.” Id. (quoting

Chang v. United States, 217 F.R.D. 262, 265 (D.D.C. 2003) (EGS)). After taking that balance into

account, courts may consolidate cases brought by different plaintiffs that involve common issues

and common defendants. See, e.g., id. at 21–22; Nat’l Ass’n of Mortg. Brokers v. Bd. of Governors

of Fed. Rsrv. Sys., 770 F. Supp. 2d 283, 286 (D.D.C. 2011) (BAH).

       Here, there are “extensive common questions of law and fact” among the cases proposed

to be consolidated. See Nat’l Ass’n of Mortg. Brokers, 770 F. Supp. 2d at 287. First, each of the



                                                 2
       Case 1:25-cv-00946-CKK           Document 12        Filed 04/03/25      Page 3 of 5




three cases arises from the issuance of the same Executive Order. See Compl., ECF No. 1 (Case

No. 25-cv-0946), ¶ 1; Compl., ECF No. 1 (Case No. 25-cv-0952), ¶ 4 & Ex. A; Compl., ECF No.

1 (Case No. 25-cv-0955), ¶ 1. Second, the Plaintiffs in each case raise similar challenges to the

legal force of the Executive Order and the lawfulness of any action that agencies may take in

response to it. For example, the Plaintiffs in each case allege that several provisions of the

Executive Order violate constitutional separation-of-powers principles by intruding on the

prerogatives of Congress and the States. See Compl. (Case No. 25-cv-0946) ¶¶ 190–92, 197–99;

Compl. (Case No. 25-cv-0952) ¶¶ 136–39, 143–44, 151–53; Compl. (Case No. 25-cv-0955)

¶¶ 110–13. The Plaintiffs in each case also allege that the Executive Order directs the U.S.

Election Assistance Commission to take action that is contrary to a federal statute governing the

content of a federal voter registration form. See Compl. (Case No. 25-cv-0946) ¶¶ 216–17, 221;

Compl. (Case No. 25-cv-0952) ¶¶ 174–77; Compl. (Case No. 25-cv-0955) ¶¶ 119–21. Finally,

each of the cases seeks relief against some of the same defendants, including the U.S. Election

Assistance Commission and each of its commissioners. See Compl., (Case No. 25-cv-0946) ¶¶ 23,

25–28 & at 49; Compl. (Case No. 25-cv-0952) ¶ 19 & at 68–69; Compl. (Case No. 25-cv-0955)

¶¶ 24–28 & at 33.

       Because of these commonalities, consolidation of these cases would “promote the interests

of judicial economy, consistency, timeliness,” and “convenience” for the parties by reducing the

need for duplicative briefing, argument, and analysis regarding overlapping issues. See Nat’l Ass’n

of Mortg. Brokers, 770 F. Supp. 2d at 287. All three cases are also currently in the same procedural

posture, maximizing the potential efficiency gains from prompt consolidation. Cf. Stewart v.

O’Neill, 225 F. Supp. 2d 16, 21 (D.D.C. 2002) (RCL) (declining to consolidate cases in part

because they were “in vastly different procedural postures”).



                                                 3
       Case 1:25-cv-00946-CKK            Document 12        Filed 04/03/25       Page 4 of 5




       Meanwhile, consolidation would not create any undue risk of confusion or unfair prejudice

to any party. This Court can mitigate any potential confusion by setting clear procedures for the

orderly joint presentation of these cases. And consolidation will not prejudice the substantive

rights of any party because consolidation “does not merge the suits into a single cause, or change

the rights of the parties, or make those who are parties in one suit parties in another.” Johnson v.

Manhattan Ry. Co., 289 U.S. 479, 496 (1933) (discussing 28 U.S.C. [former] § 734, the

predecessor statute to Rule 42(a)). Instead, “consolidation is a purely ministerial act” that merely

“relieves the parties and the Court of the burden of duplicative pleadings and Court orders.” New

York v. Microsoft Corp., 209 F. Supp. 2d 132, 147–48 (D.D.C. 2002) (CKK). For all these reasons,

the benefits of consolidating these cases outweigh any potential costs.

       In sum, the Court finds that these cases “involve a common question of law or fact” and

that consolidating the cases would serve the interests of justice, the parties, and the Court. See

Fed. R. Civ. P. 24(a). Accordingly, it is hereby ORDERED that the cases League of United Latin

American Citizens et al. v. Executive Office of the President et al., No. 25-cv-0946, Democratic

National Committee et al. v. Trump et al., No. 25-cv-0952, and League of Women Voters Education

Fund et al. v. Trump et al., No. 25-cv-0955, are CONSOLIDATED for purposes of adjudication

in this Court. It is further ORDERED that:

       (1)     The parties shall make all future filings in these cases only on the docket for the
               earliest-numbered case, Civil Action No. 25-cv-0946, and the parties shall make no
               further filings on the dockets for Civil Action Nos. 25-cv-0952 and 25-cv-0955.
       (2)     Each filing in the consolidated cases shall identify each of the three consolidated
               cases in the caption.
       (3)     Each motion filed in the consolidated cases shall specifically identify the party or
               parties seeking relief and the party or parties against whom relief is sought.
       (4)     The parties shall, to the greatest extent practicable, avoid filing duplicative motions,
               arguments, and exhibits. For example, if two aligned parties (e.g., two plaintiffs or
               two defendants) request different relief but their requests are based on common
               issues of law and fact, the aligned parties may file separate motions accompanied

                                                  4
Case 1:25-cv-00946-CKK         Document 12        Filed 04/03/25      Page 5 of 5




      by a joint memorandum addressing the common issues. If necessary, any subset of
      the parties to any joint filing may file separate supplemental memoranda in support
      of any separate request(s) for relief.
(5)   The page limitations set forth in Local Rule of Civil Procedure 7(e) are modified as
      follows:
      (a)    Any joint memorandum filed in support of or in opposition to a motion or
             set of multiple related motions shall not exceed 60 pages.
      (b)    Any memorandum filed as a supplement to a joint memorandum in support
             of or in opposition to a motion or set of multiple related motions, if filed by
             a party that joins the joint memorandum and has requested separate relief,
             shall not exceed 15 pages.
      (c)    If two or more aligned parties file separate memoranda in support of or in
             opposition to the same motion or set of related motions, none of those
             separate memoranda shall exceed 30 pages.
      (d)    Any joint reply memorandum shall not exceed 30 pages.
      (e)    Any memorandum filed as a supplement to a joint reply memorandum, if
             filed by a party that joins the joint memorandum and has requested separate
             relief, shall not exceed 8 pages.
      (f)    If two or more aligned parties file separate reply memoranda in support of
             the same motion, none of those separate memoranda shall exceed 15 pages.
(6)   In advance of any hearing, counsel for aligned parties shall meet and confer
      regarding the division of issues to be addressed by each party’s counsel at the
      hearing. The Court shall allow counsel to present oral arguments and answer
      questions according to the division of issues to which aligned parties have agreed.
(7)   Before any party may expand the scope of any of the consolidated cases by adding
      new claims or parties, the parties to the consolidated cases shall meet and confer to
      discuss (a) whether each party consents to the proposed expansion and (b) whether
      the proposed expansion would warrant deconsolidation. Any motion filed with the
      Court that would expand the scope of the consolidated cases shall indicate each
      party’s position on these issues.
(8)   The Clerk of the Court is respectfully directed to close the dockets in Civil Action
      Nos. 25-cv-0952 and 25-cv-0955.


SO ORDERED.

Dated: April 3, 2025

                                            COLLEEN KOLLAR-KOTELLY
                                            United States District Judge



                                        5
